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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                Judge Regina M. Rodriguez

  Civil Action No. 22-cv-00013-RMR-STV

  ANDREW GARLICK,
  THOMAS FOW, and
  REBEKAH VOELKELT
       Plaintiffs,

  v.

  THE REGENTS OF THE UNIVERSITY OF COLORADO,
  TODD SALIMAN, in his official capacity as President of University of Colorado,
  DONALD M. ELLIMAN, JR., in his official capacity as Chancellor of University of Colorado
  Anschutz Medical Campus, and
  MICHELLE MARKS, in her official capacity as Chancellor of University of Colorado Denver
        Defendants.


                                        FINAL JUDGMENT


         In accordance with the orders filed during the pendency of this case, and pursuant to

  Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

         Pursuant to the Order of Judge Regina M. Rodriguez entered on January 11, 2023,

  [ECF No. 54] it is

         ORDERED that the Court’s Order to Show Cause, ECF No. 43, is MADE ABSOLUTE,

  and this case is DISMISSED WITHOUT PREJUDICE for lack of jurisdiction.

         FURTHER ORDERED that Defendants shall have their costs by the filing of a Bill of

  Costs with the Clerk of this Court within fourteen days after the entry of judgment, pursuant to

  Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1.

                 Dated at Denver, Colorado this 11th day of January, 2023.

                                               FOR THE COURT:
                                               JEFFREY P. COLWELL, CLERK

                                               By: s/ K. Myhaver
                                                   K. Myhaver, Deputy Clerk
